                                                                                         p"M tMo ENDORSED
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August 30, 2018

ByECF

The Honorable Ronnie Abrams                                                        LSDC-SDNY
United States District Court                                                       DOCUMENT
Southern District of New York
Thurgood Marshall United States Courthouse                                         ELECTRO'.\ICALLY FILED
40 Foley Square                                                                 ! DOC # : _ _ _-,;:;-r--=---,--==-
New York, NY 10007                                                                 1l\ TF Fl LED :--1.<--+---"'-=----.._...-
          Re:     Doe v. The Weinstein Company LLC, et al.,
                  18-CV-5414 {RA)

Dear Judge Abrams:

                 We represent defendant Paul Tudor Jones in the above action. We write on behalf
of Mr. Jones, defendants James Dolan, Richard Koenigsberg, Lance Maerov, Jeff Sackman, Bob
Weinstein, and Dirk Ziff (together, "Defendants"), and plaintiff Jane Doe, to jointly request that
Defendants' deadline to respond to the operative complaint in this action be adjusted.' More
specifically, these parties request that the deadline to respond to the operative complaint is set so
that Defendants must file any motions to dismiss or other response within a set period of time
after Plaintiff's pending motion to amend is resolved.

                By way of background, Plaintiff initiated this action and filed a First Amended
Complaint in California state court. This action has since been removed to federal court, and
transferred to the Southern District of New York. The Defendants currently have different
deadlines for when they are scheduled to respond to the First Amended Complaint, generally
between September 10, 2018 and September 14, 2018, based on when each Defendant waived
service. (See, e.g., Dkts. 40-41, 43-47.)

               On August 2, 2018, Plaintiff filed a motion for leave to file a Second Amended
Complaint. (See Dkts. 62, 64.) That motion remains pending, and is scheduled to be fully
briefed by September 28, 2018. (0kt. 67.)

              The Court has already set an order making clear that defendant Tim Sarnoff's
"time to move to dismiss or otherwise respond to the operative complaint is adjourned until: (a)

1
    Defendants Tim Sarnoff and Harvey Weinstein also consent to this request.
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30 days after entry of an order denying the motion to amend, in which case they shall respond to
the [First Amended Complaint]; or (b) 30 days after the filing of a Second Amended Complaint
("SAC") in the event the Court enters an order granting the filing of-a SAC." (Dkt. 35.) The
parties identified above jointly request that Defendants' deadline to respond to the operative
complaint is similarly adjusted, so that each Defendant need only file a single responsive
pleading to the pertinent complaint and so that Defendants may do so on the same schedule as
Mr. Sarnoff. This is Defendants' first request for an extension in connection with this matter.

               Thank you for your consideration.

                                                    Respectfully,

                                                    Isl James V. Masella, III
                                                    James V. Masella, III



           Application granted. All Defendants who have appeared in this action
           shall have until either (a) 30 days after entry of an order denying the
           motion to amend, in which case they shall respond to the First Amended
           Complaint, or (b) 30 days after the filing of a Second Amended
           Complaint ("SAC"), in the event the Court enters an order granting the
           filing of a SAC, to answer or otherwise respond to the operative
           pleading.

           SO ORDERED.




           Hon.
           8/30/2
